     Case 2:14-cv-10785-MFL-LJM ECF# 55     Filed 02/04/15   Pg 1 of 10   Pg ID.869



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

AMERICON GROUP, INC., et al.

        Plaintiffs,
                                                   Case No. 14-cv-10785
v.                                                 Hon. Matthew F. Leitman

MARCO CONTRACTORS, INC., et al.

        Defendants.

And

MARCO CONTRACTORS, INC.,

        Third-Party Plaintiff,

v.

GMRI, INC.

     Third-Party Defendant.
_________________________________/

     OPINION AND ORDER GRANTING IN PART AND DENYING IN PART
      THIRD-PARTY DEFENDANT’S MOTION TO DISMISS THE THIRD-
        PARTY COMPLAINT AND COMPEL ARBITRATION (ECF #44)

        GMRI, Inc. (“GMRI”) owns and operates Red Lobster restaurants. In 2013,

GMRI hired Marco Contractors, Inc. (“Marco”) to serve as general contractor on

renovation work to be performed on two Red Lobsters in Michigan. Marco then

entered into subcontracts with Americon Group, Inc. (“Americon”), Garr Electric Co.,

Inc. (“Garr”), and Detroit Spectrum Painters, Inc. (“Spectrum”) to perform some of

the work. In this action, Americon, Garr, and Spectrum (collectively, “Plaintiffs”)
    Case 2:14-cv-10785-MFL-LJM ECF# 55        Filed 02/04/15   Pg 2 of 10    Pg ID.870



allege that Marco failed to pay amounts owing under their subcontracts. (See the

“Second Amended Complaint,” ECF #30.)              Marco has filed a “Third-Party

Complaint” against GMRI in which Marco alleges that GMRI breached the general

contract. (See the “Third-Party Complaint,” ECF #36.) GMRI has now moved to (1)

dismiss the Third-Party Complaint and (2) compel Marco to arbitrate its dispute with

GMRI in Florida. (See the “Motion,” ECF #44.) For the reasons discussed below, the

Court GRANTS GMRI’s request to dismiss the Third-Party Complaint and DENIES

GMRI’s request to compel arbitration in Florida.

                THE PARTIES’ FACTUAL ALLEGATIONS AND
               THE PROCEDURAL HISTORY OF THIS ACTION

       GMRI, a Florida corporation with its principal place of business in Florida,

owns and operates Red Lobster restaurants throughout the United States. (See Mot. at

1, Pg. ID 786.) On or about June 5, 2013, GMRI entered into agreements with Marco,

a general contractor based in Pennsylvania, to remodel Red Lobster restaurants

located at 101 W. 12 Mile Road, Madison Heights, Michigan and at 5774 N. Wayne

Road, Westland, Michigan (the “Restaurants”). (See the “General Contracts,” ECF

##29-2 and 29-3.)

       The General Contracts contained the following arbitration provision:

             [GMRI] and [Marco] shall settle by arbitration any
             controversy or claim, including any claim of
             misrepresentation, arising out of or related to this Contract
             or the Contract Documents, or to any agreement or contract
             entered into between [GMRI] and [Marco], or any
             equipment or service [Marco] furnishes to [GMRI].

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    Case 2:14-cv-10785-MFL-LJM ECF# 55         Filed 02/04/15   Pg 3 of 10    Pg ID.871




(The “Arbitration Clause,” General Contracts at ¶12.1.)         The General Contracts

further provided that “[t]he arbitration shall be held and the award shall be deemed to

be made in Orlando, Florida unless [GMRI] requests another hearing locale.” (The

“Forum Selection Clause,” id. at ¶12.1.) In addition, GMRI and Marco agreed that

the General Contracts would be “construed, interpreted and enforced in accordance

with the Laws of the State of Florida….” (Id. at ¶9.1.)

        One week after executing the General Contracts, Marco entered into

subcontracts with Plaintiffs to perform work on the Restaurants.                (See the

“Subcontracts,” ECF ##30-2, 30-3, 30-4, 30-15, and 30-16.)            The Subcontracts

established a schedule for Marco to make payments to the Plaintiffs. (See id. at ¶5.)

However, each Subcontract provided that

             [t]his payment schedule shall be expressly conditioned
             upon [Marco] first receiving payments from [GMRI], with
             the release to [Plaintiff] of [Plaintiff’s] proportional share
             within seven to ten (7-10) working days of receipt of
             payment from [GMRI]….                   [Plaintiff] expressly
             acknowledges, understands and agrees that [Marco] shall
             have no obligation whatsoever to pay [Plaintiff] for any
             work performed under this Subcontract until and unless
             [Marco] has been paid by [GMRI], which payment shall be
             a condition precedent to any obligations of [Marco] to pay
             for any work hereunder….

(Id.)




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    Case 2:14-cv-10785-MFL-LJM ECF# 55                                 Filed 02/04/15   Pg 4 of 10   Pg ID.872



              On February 20, 2014, Plaintiffs filed the instant action against Marco.1 In

their Second Amended Complaint, Plaintiffs alleged that Marco breached the

Subcontracts by failing to pay Plaintiffs in full for work they performed on the

Restaurants. (See Sec. Am. Compl.)

              Marco then filed the Third-Party Complaint against GMRI.2 Marco alleges that

GMRI breached the General Contracts by refusing to pay Marco for the work it

completed on the Restaurants. (See Third-Party Compl. at ¶¶14-15.) Marco also

brings claims against GMRI for unjust enrichment and injunctive relief. (Id. at 16-

27.)

              GMRI has now moved to dismiss the Third-Party Complaint on the ground that

the claims are subject to mandatory arbitration under the Arbitration Clause. (See

Mot. at ¶8.) In addition, GMRI asks this Court to enter an order compelling Marco to

arbitrate its dispute with GMRI in Florida, under Florida law. (See id.) Marco

opposes GMRI’s requested relief on the grounds that (1) the Arbitration Clause is

unenforceable, and (2) GMRI is a necessary and indispensable party to Plaintiffs’

underlying action against Marco pursuant to Fed. R. Civ. P. 19(b).                                     (See the

“Response Brief,” ECF #49.)

                                                            
1
   Plaintiffs also named Old Republic Insurance Company as a defendant in the
action.
2
  Marco also named Golden Gate Capital Management, Inc. (“GCCM”) as a third-
party defendant. Marco voluntarily dismissed GCCM from the action on October
17, 2014. (See ECF #43.)


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    Case 2:14-cv-10785-MFL-LJM ECF# 55          Filed 02/04/15   Pg 5 of 10   Pg ID.873



       The Court heard oral argument on GMRI’s Motion on January 27, 2015. For

the reasons discussed below, the Court GRANTS GMRI’s request to dismiss the

Third-Party Complaint and DENIES GMRI’s request to compel arbitration.

                                      ANALYSIS

       Under the Federal Arbitration Act (“FAA”), a party’s agreement “to settle by

arbitration a controversy thereafter arising … shall be valid, irrevocable, and

enforceable.” 9 U.S.C. § 2. The threshold question under the FAA is “whether the

dispute is arbitrable, meaning that a valid agreement to arbitrate exists between the

parties and that the specific dispute falls within the substantive scope of the

agreement.” Landis v. Pinnacle Eye Care, LLC, 537 F.3d 559, 561 (6th Cir. 2008).

The FAA “[m]anifest[s] a ‘liberal federal policy favoring arbitration agreements.’”

Javitch v. First Union Securities, Inc., 315 F.3d 619, 624 (6th Cir. 2003) (quoting

Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 625 (1985)).

Accordingly, any doubts regarding the enforceability of an arbitration clause “should

be resolved in favor of arbitration.” Id. (quoting Moses H. Cone Mem’l Hosp. v.

Mercury Constr. Corp., 460 U.S. 1, 25 (1983)).

       In this case, the Court has little difficulty concluding that Marco and GMRI

entered into a valid agreement to arbitrate disputes, such as this one, arising out of the

General Contracts. Indeed, Marco unequivocally agreed to “settle by arbitration any

controversy or claim” against GMRI “arising out of or related to” the General

Contracts. Moreover, the instant dispute – relating to GMRI’s alleged failure to pay

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    Case 2:14-cv-10785-MFL-LJM ECF# 55                                 Filed 02/04/15   Pg 6 of 10   Pg ID.874



Marco for work it completed on the Restaurants pursuant to the General Contracts –

clearly falls within the ambit of the Arbitration Clause. Having made an enforceable

agreement to arbitrate such disputes, Marco cannot now litigate its claim against

GMRI in federal court. See, e.g., Nestle Waters North Am., Inc. v. Bollman, 505 F.3d

498 (6th Cir. 2007) (affirming dismissal of plaintiff’s claims because disputes fell

within scope of binding arbitration agreement).3

              Marco counters that the Arbitration Clause is unenforceable because it is

unconscionable. But Marco has not shown a difference in the parties’ bargaining

power; nor has Marco even attempted to argue that there is anything unreasonable

about having to arbitrate, rather than litigate, its dispute with GMRI.4 Marco is a



                                                            
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   The Court would reach the same conclusion under either Michigan or Florida
law if either legal regime applied here. Indeed, under both Michigan and Florida
law provide, a party’s agreement to arbitrate a controversy is valid and
enforceable. See Fla. Stat. § 682.02(1); M.C.L. § 691.1686(1). Further, both
States construe arbitration agreements liberally in favor of arbitration. See, e.g.,
Kolsky v. Jackson Square, LLC, 28 So.3d 965, 969 (Fla. Ct. App. 2010) (doubts
concerning arbitration clauses should be resolved in favor of arbitration); In re
Nestorovski Estate, 769 N.W.2d 720, 735-36 (Mich. Ct. App. 2009). Where, as
here, the result would be the same under any of the potentially-applicable legal
regimes, the Court need not conduct a choice-of-law analysis. See, e.g., Cinetic
Dyag Corp. v. Forte Automation Sys., Inc., No. 08-11790, 2008 WL 4858005, at
*3 (E.D. Mich. Nov. 6, 2008) (where potentially-applicable laws are “substantially
the same … choice of law analysis is unnecessary”).
4
   Moreover, the Court notes that Marco initially attempted to enforce a similar
provision in the Subcontracts in which the Plaintiffs agreed to arbitrate disputes
with Marco in Pennsylvania. (See ECF #17.) Marco apparently found nothing
unconscionable about attempting to enforce that arbitration agreement.


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    Case 2:14-cv-10785-MFL-LJM ECF# 55                                 Filed 02/04/15   Pg 7 of 10   Pg ID.875



sophisticated national company5 that could have (1) negotiated with GMRI to remove

the Arbitration Clause from the General Contracts or (2) simply declined to enter into

the General Contracts if GMRI refused to delete the clause.                                          Under these

circumstances, neither the General Contracts nor the Arbitration Clause are

unconscionable. See Whirlpool Corp. v. Grigoleit Co., 713 F.3d 316, 321 (6th Cir.

2013) (to establish unconscionability, party challenging contract must show both that

it had no meaningful choice when it signed the contract and that the challenged

provision is substantively unreasonable).

              Marco next urges the Court not to enforce the Arbitration Clause because the

Forum Selection Clause designates Florida, rather Michigan, as the forum for the

arbitration. This argument misses the mark. The designation of the forum is separate

from the parties’ agreement to arbitrate. Indeed, even if Marco is correct that the

Forum Selection Clause is unenforceable (as explained further below, this Court

expresses no opinion on that matter), that would not free Marco from its obligation to

arbitrate its disputes with GMRI; it would mean only that the agreed-upon arbitration

could occur in a forum other than Florida. Marco has not cited any authority holding

that an agreement to arbitrate is void if accompanied by a forum selection clause that

is not enforceable.

                                                            
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  GMRI notes that Marco’s website states that Marco has been in business for
“more than 30 years” and that it holds “contractor’s licenses in all 50 states.” (See
Mot. at 1, Pg. ID 786.) Marco has not denied these statements.


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    Case 2:14-cv-10785-MFL-LJM ECF# 55         Filed 02/04/15   Pg 8 of 10   Pg ID.876



       Marco next argues that its Third-Party Complaint should not be dismissed

because GMRI is an indispensable party to this action pursuant to Rule 19(b) of the

Federal Rules of Civil Procedure. In Marco’s view, GMRI’s participation is needed

in order to “properly and fully adjudicate the Plaintiff’s [sic] claims, as they are not

entitled to be paid unless and until GMRI pays Marco.” (Resp. Br. at 3-4, Pg. ID 838-

39.) Marco’s Rule 19(b) argument is misplaced. “Rule 19 does not provide or

support the introduction of a third-party defendant into a lawsuit. Rather, Rule 19

provides that the court may, under proper circumstances, require the joinder of a non-

party as a plaintiff, defendant or involuntary plaintiff. It does not empower the court

to order joinder of a third-party defendant….” United States ex rel. v. Allstate Ins.

Co., 265 F.R.D. 266, 270 (E.D. La. 2010) (citing Brooks v. Hickman, 101 F.R.D. 16,

18 (W.D. Pa. 1984)).

       Moreover, and in any event, Marco applies Rule 19(b) incorrectly. Rule 19(b)

governs “whether a case should proceed in the absence of a particular party.” Ramco-

Gershenson Properties, L.P. v. Hoover Annex Group LLC, 228 F.R.D. 610, 614 (E.D.

Mich. 2005) (emphasis added). In this case, Marco attempts to use Rule 19(b) as a

mechanism for including GMRI in this action. But Rule 19(b) does not serve that

purpose.

       Marco’s Third-Party Complaint suffers from another fatal flaw: it is not a

“third-party complaint” at all. Fed. R. Civ. P. 14(a)(1) provides that a defendant may

file a third-party complaint against “a nonparty who is or may be liable to it for all or

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    Case 2:14-cv-10785-MFL-LJM ECF# 55         Filed 02/04/15   Pg 9 of 10   Pg ID.877



part of the claim against it.” The United States Court of Appeals for the Sixth Circuit

has explained that “[t]hird-party pleading is appropriate only where the third-party

defendant’s liability to the third-party plaintiff is dependent on the outcome of the

main claim….” Am. Zurich Ins. Co. v. Cooper Tire & Rubber Co., 512 F.3d 800, 805

(6th Cir. 2008). See also Watergate Landmark Condo. Unit Owners’ Assoc. v. Wiss,

Janey, Elstner Assoc., 117 F.R.D. 576, 578 (E.D. Va. 1987) (“[i]t is settled beyond

dispute that a third party claim can be maintained only if the liability it asserts is in

some way derivative of the main claim”). Marco has not shown that its claims against

GMRI are necessarily derivative of Plaintiffs’ claims against Marco. Indeed, Marco

has asserted independent claims for relief against GMRI.         Accordingly, Marco’s

Third-Party Complaint against GMRI fails because it does not rely on a secondary or

derivative theory of liability.

       For all of these reasons, the Court will grant GMRI’s request to dismiss the

Third-Party Complaint. However, the Court will not grant GMRI’s request for an

order compelling Marco to arbitrate its dispute with GMRI in Florida, under Florida

law. “Where the parties have agreed to arbitrate in a particular forum, only a district

court in that forum has jurisdiction to compel arbitration.” Milan Express Co., Inc. v.

Applied Underwriters Captive Risk Assurance Co., Inc., --- Fed. App’x ---, 2014 WL

5394455, at *5 (6th Cir. Oct. 23, 2014) (citing Inland Bulk Transfer Co. v. Cummins

Engine Co., 332 F.3d 1007, 1018 (6th Cir. 2003)).          This Court therefore lacks

jurisdiction to enter an order compelling arbitration in Florida. If this matter proceeds

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    Case 2:14-cv-10785-MFL-LJM ECF# 55                                         Filed 02/04/15   Pg 10 of 10   Pg ID.878



to arbitration, the arbitrator will rule upon the enforceability of the Forum Selection

Clause and will determine which law governs Marco’s claims against GMRI.

                                                                   CONCLUSION

              For all of the reasons stated in this Opinion and Order, IT IS HEREBY

ORDERED that GMRI’s Motion (ECF #44) is GRANTED IN PART and DENIED

IN PART.                         Marco’s Third-Party Complaint (ECF #36) is DISMISSED WITH

PREJUDICE.6 GMRI’s request for an order compelling Marco to arbitrate in Florida

and under Florida law is DENIED.

 
                                                                         s/Matthew F. Leitman
                                                                         MATTHEW F. LEITMAN
                                                                         UNITED STATES DISTRICT JUDGE

Dated: February 4, 2015

       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on February 4, 2015, by electronic means and/or
ordinary mail.

                                                                         s/Holly A. Monda
                                                                         Case Manager
                                                                         (313) 234-5113




                                                            
6
  This dismissal operates as a bar to Marco litigating (as opposed to arbitrating) its
claims against GMRI. It is not an adjudication on the merits of Marco’s claims
against GMRI. The Court expresses no opinion on the merits of those claims and
does not intend to preclude Marco from asserting those claims in arbitration.

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